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          EXHIBIT J
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                              Rev. V4

    Features                                                                                         Functional Schematic
     High Gain: 13.5 dB
                                                                                                           5                                           6          7
     P1dB: 30 dBm
                                                                                                         AUX                                         DET        N/C
     P3dB: 33.5 dBm
     Output IP3: +42 dBm
     Bias Voltage: VDD = 15 V
     Bias Current: IDSQ = 500 mA                                                                   4    N/C                                                                RFOUT/
                                                                                                                                                                                       8
     50 Ω Matched Input / Output                                                                                                                                            VDD
     Temperature Compensated Output Power                                                                                                                                       GND   9
      Detector                                                                                      3    N/C
     Die Size: 2.99 x 1.5 x 0.1 mm
     RoHS* Compliant

    Description                                                                                     2   GND

    The MAAP-011247-DIE is a 2 W distributed power
                                                                                                    1    RFIN
    amplifier offered as a bare die part. Operating from                                           11   GND
                                                                                                                                                                                 VG1
    DC to 22 GHz, this power amplifier provides 13.5 dB
                                                                                                                                                                                  10
    of linear gain and 33.5 dBm of output power at 3-dB
    compression. The device is fully matched across the
    band and includes a temperature compensated
    output power detector.                                                                           Pin Configuration2

    The MAAP-011247-DIE can                             be used as a power                              Pin No.         Pin Name                           Description
    amplifier stage or as a driver                      stage in higher power                               1               RFIN                            RF Input
    applications. This device is                        ideally suited for test
    and measurement, EW,                                  ECM, and radar                                    2               GND                              Ground
    applications.
                                                                                                          3, 4               N/C                       No Connection
    This product is fabricated using a GaAs pHEMT                                                           5               AUX                             Auxiliary
    process which features full passivation for enhanced
    reliability.                                                                                            6               DET                       Power Detector

                                                                                                            7                N/C                       No Connection

                                                                                                            8           RFOUT/VDD              RF Output / Drain Voltage
    Ordering Information                                                                                    9               GND                              Ground

               Part Number                                  Package                                        10                VG1                        Gate Voltage

           MAAP-011247-DIE                                   Gel Pak1                                      11               GND                              Ground

    1. Die quantity varies.                                                                          2. Backside of die must be connected to RF, DC and thermal
                                                                                                        ground.




     *Restrictions on Hazardous Substances, European Union Directive 2011/65/EU.
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                              Rev. V4

    Electrical Specifications: TA = +25°C, VDD = 15 V, IDSQ3 = 500 mA, Z0 = 50 Ω
                  Parameter                                          Test Conditions                                   Units            Min.              Typ.               Max.
                                                                            2 GHz                                                        —                 13.0
                                                                            12 GHz                                                      11.5               13.0
                       Gain                                                                                              dB                                                      —
                                                                            18 GHz                                                       —                 13.5
                                                                            22 GHz                                                      11.5               14.0
                                                                       PIN = +23 dBm
                                                                           2 GHz                                                         —                 34.5
                       POUT                                                12 GHz                                       dBm             31.0               33.0                  —
                                                                           18 GHz                                                        —                 33.5
                                                                           22 GHz                                                       30.0               32.0
                                                                            2 GHz                                                                          32.0
                                                                            12 GHz                                                                         31.0
                      P1dB                                                                                              dBm               —                                      —
                                                                            18 GHz                                                                         30.0
                                                                            22 GHz                                                                         29.5
                                                   POUT = +20 dBm/tone (10 MHz Tone Spacing)
                                                                     2 GHz                                                                                 45.5
                       OIP3                                         12 GHz                                              dBm               —                45.5                  —
                                                                    18 GHz                                                                                 42.0
                                                                    22 GHz                                                                                 41.0
                                                                       PIN = +23 dBm
                                                                           2 GHz                                                                           23.0
                       PAE                                                 12 GHz                                        %                —                20.0                  —
                                                                           18 GHz                                                                          18.5
                                                                           22 GHz                                                                          13.5
             Input Return Loss                                         PIN = -20 dBm                                     dB               —                 15                   —
            Output Return Loss                                         PIN = -20 dBm                                     dB               —                 15                   —
             IDD (with RF drive)                                       PIN = +23 dBm                                    mA                —                600                   —
                         IG1                                                    —                                       mA                —                  8                   —

    3. Set IDSQ according to bias procedures in page 3.



    Maximum Operating Ratings                                                                        Absolute Maximum Ratings6,7
                 Parameter                                    Rating                                              Parameter                          Absolute Maximum
                 Input Power                                 23 dBm                                              Input Power                                   28 dBm
                                         4,5
       Junction Temperature                                  +150°C                                             Drain Voltage                                    +16 V
        Operating Temperature                           -40°C to +85°C                                          Gate Voltage                                  -5 to 0 V
                                                                                                                                         8
    4. Operating at nominal conditions with junction temperature                                          Junction Temperature                                 +175°C
       ≤ +150°C will ensure MTTF > 1 x 106 hours.
                                                                                                           Storage Temperature                          -65°C to +125°C
    5. Junction Temperature (TJ) = TC + ӨJC * ((V * I) - (POUT - PIN))
       Typical thermal resistance (ӨJC) = 6.5 °C/W.                                                  6. Exceeding any one or combination of these limits may cause
       a) For TC = +85°C,                                                                               permanent damage to this device.
       TJ = +134 °C @ 15 V, 0.62 A, POUT = 33 dBm, PIN = 23 dBm                                      7. MACOM does not recommend sustained operation near these
                                                                                                        survivability limits.
                                                                                                     8. Junction temperature directly effects device MTTF. Junction
                                                                                                        temperature should be kept as low as possible to maximize
                                                                                                        lifetime.
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                                Rev. V4

    Application Schematic
                              AUX                DET
                                                                                                       Handling Procedures
                         C1                                                        VDD                 Please observe the following precautions to avoid
                  AUX                            DET    N/C                                            damage:

                                                                                                       Static Sensitivity
                                                                    RFOUT/                   RFOUT
                  N/C
                                                                     VDD                               These electronic devices are sensitive to
                                                                     GND
                                                                                  External             electrostatic discharge (ESD) and can be damaged
                  N/C                                                             Bias-T               by static electricity. Proper ESD control techniques
                                                                                                       should be used when handling these HBM Class 1A
                  GND
                                                                                                       devices.
    RFIN
                  RFIN
                  GND
                                                                      VG1
                                                                                                       Recommended PCB Information
                                                                             C2                        RF input and output are 50 Ω transmission lines.
                                                              VG1
                                                                                                       Single layer 4 mil Rogers RO4350B with 1/2 oz. Cu.
                                                                                                       Use copper filled vias under ground paddle.
    Bill of Materials9,10,11
           Part               Value              Size                  Comment                         Grounding
                                                                                                       It is recommended that the total ground (common
       C1, C2                  1 µF              0402                        bypass                    mode) inductance not exceed 0.03 nH (30 pH). This
                                                                                                       is equivalent to placing at least four 8-mil (200-μm)
    9. C1 & C2 are required for operation below 1 GHz.                                                 diameter vias under the device, assuming an 8-mil
    10. High power external bias tee was used for measurements.
    11. External DC block was used on input.                                                           (200-μm) thick RF layer to ground.



    Biasing Conditions                                                                                 Operating the MAAP-011247
    Recommended biasing conditions are VDD = 15 V,                                                     Turn-on
    IDSQ = 500 mA (controlled with VG1).                                                                            1. Apply VG1 (-4.5 V).
                                                                                                                    2. Increase VDD to 15 V.
    VDD Bias must be applied through a resonant free                                                                3. Set IDSQ by adjusting VG1 more positive
    high inductance on the RF output line.                                                                             (typically -3.4 V for IDSQ = 500 mA).
                                                                                                                    4. Apply RFIN signal.
    By-pass capacitor C1 for the auxiliary pad is for a
    low frequency operation extension (below 1 GHz).                                                   Turn-off
                                                                                                                    1. Remove RFIN signal.
                                                                                                                    2. Decrease VG1 to -4.5 V.
                                                                                                                    3. Decrease VDD to 0 V.




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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                              Rev. V4


    PCB Layout:
    RF input and output port pre-matching circuit patterns are designed to compensate bonding wires. Input and
    output matching are identical.


                                             250                                           3500
                                            200
                          250
                         200
                        210




                                                                                   AUX                DET




                                                                                                                                                              3000
                                                                                                     RFOUT


                                                                                    RFIN
                                                                                                        VG1




                                                                        All units are in microns.




                               Input Match                                                                                        Output Match
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                                               Rev. V4

    Typical Performance Curves VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
    S Parameters                                                                                                       Gain
                         30                                                                                                               20


                         20
                                                                                                                                          15
    S21, S11, S22 (dB)




                         10




                                                                                                                     S21 (dB)
                                                                                    S21
                                                                                    S11
                          0                                                         S22                                                   10


                         -10
                                                                                                                                                                                      +25°C
                                                                                                                                           5                                          -40°C
                                                                                                                                                                                      +85°C
                         -20


                         -30                                                                                                               0
                               0           5             10            15            20            25                                           0   5     10            15            20           25
                                                      Frequency (GHz)                                                                                   Frequency (GHz)

       Input Return Loss                                                                                               Output Return Loss
                          0                                                                                                                0
                                                                                   +25°C                                                                                            +25°C
                                                                                   -40°C                                                                                            -40°C
                                                                                   +85°C                                                                                            +85°C
                         -10                                                                                                              -10
    S11 (dB)




                                                                                                                     S22 (dB)




                         -20                                                                                                              -20



                         -30                                                                                                              -30



                         -40                                                                                                              -40
                               0           5             10            15            20            25                                           0   5     10            15            20           25
                                                      Frequency (GHz)                                                                                   Frequency (GHz)

     Isolation                                                                                                         S Parameters @ Low Frequency
                          0                                                                                                               30

                                                                                   +25°C
                                                                                   -40°C                                                  20
                                                                                   +85°C
                                                                                                                     S21, S11, S22 (dB)




                         -20
                                                                                                                                          10
    S12 (dB)




                                                                                                                                                                                     S21
                                                                                                                                                                                     S11
                         -40                                                                                                               0                                         S22


                                                                                                                                          -10
                         -60
                                                                                                                                          -20


                         -80                                                                                                              -30
                               0           5             10            15            20            25                                           0   2      4             6             8          10

                                                      Frequency (GHz)                                                                                   Frequency (MHz)
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                                                  Rev. V4

    Typical Performance Curves VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
      Noise Figure                                                                                                       Output IP3 vs. POUT / Tone
                         10                                                                                                          60
                                                                                                                                                    2 GHz
                                                                                                                                                    12 GHz
                                                                                                                                                    22 GHz
                          8
                                                                                                                                     50
     Noise Figure (dB)




                                                                                                                        OIP3 (dBm)
                          6
                                                                                                                                     40
                          4

                                                                                                                                     30
                          2


                          0                                                                                                          20
                              0               5             10            15            20            25                                  10   12       14      16    18     20       22        24     26
                                                          Frequency (GHz)                                                                               Output Power (dBm) / Tone

    P1dB over Temperature                                                                                               P3dB over Temperature
                         40                                                                                                          40



                         35                                                                                                          35
    P1dB (dBm)




                                                                                                                        P3dB (dBm)




                         30                                                                                                          30



                                                  +25°C                                                                                                 +25°C
                         25                       -40°C                                                                              25                 -40°C
                                                  +85°C                                                                                                 +85°C



                         20                                                                                                          20
                              0               5            10            15            20            25                                   0         5            10        15              20         25
                                                          Frequency (GHz)                                                                                       Frequency (GHz)




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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                                                             Rev. V4

    Typical Performance Curves VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
      2nd Harmonic                                                                                                               Power Compression @ 2 GHz
                                      0                                                                                                                           35




                                                                                                                                 POUT (dBm), Gain (dB), PAE (%)
                                                      14 dBm
                                                                                                                                                                           Pout
                                                      18 dBm                                                                                                      30
                                     -10              22 dBm                                                                                                               Gain
                                                                                                                                                                           PAE
    2nd Harmonic (dBc)




                                                                                                                                                                  25
                                     -20
                                                                                                                                                                  20
                                     -30
                                                                                                                                                                  15
                                     -40
                                                                                                                                                                  10

                                     -50                                                                                                                           5

                                     -60                                                                                                                           0
                                           0           5              10           15            20            25                                                      0   5        10        15      20          25
                                                                    Frequency (GHz)                                                                                               Input Power (dBm)

       Power Compression @ 12 GHz                                                                                                 Power Compression @ 22 GHz
                                     35                                                                                                                           35
                                                                                                                                 POUT (dBm), Gain (dB), PAE (%)
    POUT (dBm), Gain (dB), PAE (%)




                                                        Pout                                                                                                               Pout
                                     30                 Gain
                                                                                                                                                                  30       Gain
                                                        PAE                                                                                                                PAE
                                     25                                                                                                                           25

                                     20                                                                                                                           20

                                     15                                                                                                                           15

                                     10                                                                                                                           10

                                      5                                                                                                                            5

                                      0                                                                                                                            0
                                           0           5              10           15            20            25                                                      0   5        10        15      20         25
                                                                    Input Power (dBm)                                                                                             Input Power (dBm)

      Current
                                     1.0

                                                           2 GHz
                                                           12 GHz
                                     0.8                   22 GHz
    Current (mA)




                                     0.6


                                     0.4


                                     0.2


                                     0.0
                                           0           5              10           15            20            25
                                                                    Input Power (dBm)
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                              Rev. V4


    MMIC Die Outline12,13




    12. All units in µm, unless otherwise noted, with a tolerance of ±5 µm.
    13. Die thickness is 100 ±10 µm.




    Bond Pad Detail
                                          Size (x)                  Size (y)
               Pad
                                           (µm)                      (µm)
                1, 8                          81                       141

             2, 9, 11                         81                        91

         3, 4, 5, 6, 10                       93                        93

                 7                           118                        93




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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                              Rev. V4




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